          Case 3:22-cv-08991-JSC Document 379-3 Filed 04/03/24 Page 1 of 2




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                             UNITED STATES DISTRICT COURT
 8                         NORTHERN DISTRICT OF CALIFORNIA

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     DANTE DEMARTINI, et al.,                      Case No. 3:22-cv-08991-JSC
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                         Plaintiffs,               [PROPOSED] ORDER GRANTING
11                                                 MICROSOFT CORPORATION’S
     v.                                            ADMIN. MOTION TO FILE
12                                                 SUPPLEMENTAL MATERIAL
13   MICROSOFT CORPORATION,                        Hon. Jacqueline Scott Corley
14                       Defendant.
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                                       [PROPOSED] ORDER GRANTING MOTION TO FILE SUPP. MATERIAL
                                                                       Case No. 3:22-cv-08991-JSC
         Case 3:22-cv-08991-JSC Document 379-3 Filed 04/03/24 Page 2 of 2




 1            The Court has reviewed Microsoft Corporation’s Administrative Motion to File

 2   Supplemental Material. The Court GRANTS the motion and, if necessary, will consider the expert

 3   report of Dr. Elizabeth M. Bailey when ruling on Plaintiffs’ motion for a temporary restraining

 4   order.

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 6   IT IS SO ORDERED.

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 8   DATED:

 9                                                          JACQUELINE SCOTT CORLEY
                                                            United States District Court Judge
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                                               [PROPOSED] ORDER GRANTING MOTION TO FILE SUPP. MATERIAL
                                                                               Case No. 3:22-cv-08991-JSC
